         Case 3:24-cv-01077-RSH-MMP          Document 53-2    Filed 09/25/24   PageID.426   Page 1
                                                   of 144


     1     AYNUR BAGHIRZADE
           1968 S. Coast Highway #2429
     2     Laguna Beach, CA 92651
     3
           Phone: 619-630-6646
           Email: contact@aynurlawyers.com
     4
           AYNUR BAGHIRZADE, IN PRO SE
     5

     6                        UNITED STATES DISTRICT COURT FOR THE
     7                           SOUTHERN DISTRICT OF CALIFORNIA
     8

     9
                                                       )   Case No.: 24CV1077 RSH MMP
    10       AYNUR BAGHIRZADE,                         )
                                                       )   EXHIBITS IN SUPPORT OF
    11                                                     OPPOSITION TO DEFENDANTS
                                                       )
    12                               Plaintiff,        )   YELP INC. AND JEREMY
                                                       )   STOPPELMANÕS MOTION FOR
    13              vs.                                )   DISMISSAL PURSUANT TO
                                                       )   F.C.R.P. RULE 12 (B)(6)
    14       ARMENIAN NATIONAL                         )
             COMMITTEE OF AMERICA, A                   )   [Filed concurrently with Declaration
    15       NON-PROFIT CORPORATION, et                )   of Aynur Baghirzade; Exhibits;
    16
             al.                                       )   Proposed Order, and Certificate of
                                                       )   Service]
    17                                                 )
                                                       )
    18                               Defendants.       )
                                                       )   Date: 10/14/2024
    19                                                 )
                                                       )   Place: 3B-3rd Floor (Rm# 3142)
    20                                                 )
    21                                                 )
                                                       )
    22                                                 )   Presiding Judge: Hon. Robert Huie
                                                       )
    23                                                 )   Magistrate Judge : Hon. Michelle M.
                                                       )   Petit
    24                                                 )
                                                       )
    25                                                 )
    26                                                 )
                                                       )
    27

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           EXHIBITS IN SUPPORT OF OPPOSITION TO DEFENDANTS YELP INC. AND JEREMY STOPPELMANÕS
           MOTION FOR DISMISSAL PURSUANT TO F.R.C.P. RULE 12(B)(6)
                                                                             24CV1077 RSH MMP




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     Case 3:24-cv-01077-RSH-MMP      Document 53-2     Filed 09/25/24   PageID.427   Page 2
                                           of 144


 1
             1.     EXHIBIT A - GLOBAL TERRORISM: THE JUSTICE COMMANDOS OF
 2
       THE ARMENIAN GENOCIDE, A RESEARCH PAPER - PAGES: 1-22 (A1 -A22)
 3

 4

 5           2.     EXHIBIT B - LETTER OF CITIZENS FOR RESPONSIBILITY AND ETHICS

 6     IN WASHINGTON - PAGES: 23 - 30 (B1 - B8)
 7

 8           3.     EXHIBIT C - INSTAGRAM SCREENSHOTS OF THE ENTERPRISE TAR-
 9
       GETING SACRAMENTO BUSINESS TO SUPPRESS BUSINESS OWNERÕS SPEECH AND
10
       EXTORT MONEY - PAGES: 31- 37 (C1 - C7)
11

12
             4.     EXHIBIT D - JUDGMENT KHURAMAN ARMSTRONG V. YULIA AS-
13

14
       SATRYAN, ET AL., BY COURT IN AUSTRALIA, MELBOURNE (CASE: CI-21-01623) -

15     PAGES: 38 - 82 (D1 - D45)

16

17           5.     EXHIBIT E - ARTICLE AND POST OF DEFENDANT ANCA ON ORGANI-
18     ZATION CAMPAIGN AGAINST DR. OZÕS ELECTION TO SENATE - PAGES: 83 - 88 (E1 -
19
       E6)
20

21
             6.     EXHIBIT F - COMMUNICATION WITH ACCOUNT @MELMOUTH1 IN
22
       TWITTER - PAGES: 89- 91 (F1 -F3)
23

24

25           7.     EXHIBIT G - COMMUNICATION WITH ACCOUNT @ RAYDAR07 IN

26     TWITTER - PAGES: 92 - 99 (G1-G8)
27

28
                                                  ii
                                                  !
       EXHIBITS IN SUPPORT OF OPPOSITION TO DEFENDANTS YELP INC. AND JEREMY STOPPELMANÕS
       MOTION FOR DISMISSAL PURSUANT TO F.R.C.P. RULE 12(B)(6)
                                                                         24CV1077 RSH MMP
     Case 3:24-cv-01077-RSH-MMP       Document 53-2   Filed 09/25/24   PageID.428   Page 3
                                            of 144


 1
             8.     EXHIBIT H - REVIEW LEFT BY RAY D. IN PLAINTIFFÕS YELP ACCOUNT
 2
       - PAGES: 100 - 101 (H1 - H2)
 3

 4

 5           9.     EXHIBIT I - MANIPULATED PROFILE PICTURE OF PLAINTIFF PLACED

 6     IN HER YELP ACCOUNT - PAGES: 102 - 104 (I1 - I3)
 7

 8           10.    EXHIBIT J - FORMERLY REMOVED REVIEWS WHICH APPEARED
 9
       BACK IN PLAINTIFFÕS ACCOUNT WITH HER PAST DATED COMMENTS UNDER
10
       THEM - PAGES: 105 - 109 (J1 - J5)
11

12
             11.    EXHIBIT K: REVIEW OF SOMEONE UNDER NAME ALEX K., LEFT IN
13

14
       PLAINTIFFÕS YELP ACCOUNT - PAGES: 110 - 111 (K1-K2)

15

16           12.    EXHIBIT L: REVIEW OF SOMEONE UNDER NAME E. KERIMLI, LEFT IN
17     PLAINTIFFÕS YELP ACCOUNT AND EMAIL COMMUNICATIONS WITH YELP INC. AND
18     OTHER PLATFORMS REGARDING THIS REVIEW - PAGES: 112 - 123 (L1 - L12)
19

20
             13.    EXHIBIT M: EMAIL COMMUNICATIONS WITH YELP INC. REGARDING
21
       THE POSITIVE REVIEWS REMOVED FROM PLAINTIFFÕS ACCOUNT - PAGES: 124 -
22
       133 (M1 - M10)
23

24

25           14.    EXHIBIT N: EMAIL COMMUNICATIONS WITH YELP INC. ASKING

26     THEM TO CLOSE PLAINTIFFÕS ACCOUNT - PAGES: 134 - 141 (N1 - N12).
27

28

                                                  ! iii
       EXHIBITS IN SUPPORT OF OPPOSITION TO DEFENDANTS YELP INC. AND JEREMY STOPPELMANÕS
       MOTION FOR DISMISSAL PURSUANT TO F.R.C.P. RULE 12(B)(6)
                                                                         24CV1077 RSH MMP
Case 3:24-cv-01077-RSH-MMP   Document 53-2
                                      1       Filed 09/25/24   PageID.429   Page 4
                                   of 144




                        EXHIBIT A




                                    Exh. A1
Case 3:24-cv-01077-RSH-MMP   Document 53-2
                                      2       Filed 09/25/24   PageID.430   Page 5
                                   of 144




                                    Exh. A2
Case 3:24-cv-01077-RSH-MMP   Document 53-2
                                       3       Filed 09/25/24   PageID.431   Page 6
                                   of 144




                                     Exh. A3
Case 3:24-cv-01077-RSH-MMP   Document 453-2      Filed 09/25/24   PageID.432   Page 7
                                   of 144




                                      Exh. A 4
Case 3:24-cv-01077-RSH-MMP   Document 53-2
                                      5        Filed 09/25/24   PageID.433   Page 8
                                   of 144




                                     Exh. A5
Case 3:24-cv-01077-RSH-MMP   Document 53-2
                                      6        Filed 09/25/24   PageID.434   Page 9
                                   of 144




                                     Exh. A6
Case 3:24-cv-01077-RSH-MMP   Document753-2    Filed 09/25/24   PageID.435   Page
                                 10 of 144




                                    Exh. A7
Case 3:24-cv-01077-RSH-MMP   Document853-2    Filed 09/25/24   PageID.436   Page
                                 11 of 144




                                    Exh. A8
Case 3:24-cv-01077-RSH-MMP   Document953-2    Filed 09/25/24   PageID.437   Page
                                 12 of 144




                                    Exh. A9
Case 3:24-cv-01077-RSH-MMP   Document1053-2     Filed 09/25/24   PageID.438   Page
                                 13 of 144




                                     Exh. A10
Case 3:24-cv-01077-RSH-MMP   Document11
                                      53-2    Filed 09/25/24   PageID.439   Page
                                 14 of 144




                                   Exh. A11
Case 3:24-cv-01077-RSH-MMP   Document 53-2      Filed 09/25/24   PageID.440   Page
                                 15 of12144




                                     Exh. A12
Case 3:24-cv-01077-RSH-MMP   Document1353-2   Filed 09/25/24   PageID.441   Page
                                 16 of 144




                                   Exh. A13
Case 3:24-cv-01077-RSH-MMP   Document 53-2     Filed 09/25/24   PageID.442   Page
                                     14
                                 17 of 144




                                    Exh. A14
Case 3:24-cv-01077-RSH-MMP   Document1553-2    Filed 09/25/24   PageID.443   Page
                                 18 of 144




                                    Exh. A15
Case 3:24-cv-01077-RSH-MMP   Document1653-2      Filed 09/25/24   PageID.444   Page
                                 19 of 144




                                      Exh. A16
Case 3:24-cv-01077-RSH-MMP   Document1753-2    Filed 09/25/24   PageID.445   Page
                                 20 of 144




                                    Exh. A17
                                      18
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.446   Page
                                 21 of 144




                                   Exh. A18
Case 3:24-cv-01077-RSH-MMP   Document1953-2    Filed 09/25/24   PageID.447   Page
                                 22 of 144




                                    Exh. A19
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.448   Page
                                    20
                                 23 of 144




                                   Exh. A20
Case 3:24-cv-01077-RSH-MMP   Document2153-2   Filed 09/25/24   PageID.449   Page
                                 24 of 144




                                   Exh. A21
Case 3:24-cv-01077-RSH-MMP   Document 53-2     Filed 09/25/24   PageID.450   Page
                                 25 of22144




                                    Exh. A22
Case 3:24-cv-01077-RSH-MMP   Document2353-2   Filed 09/25/24   PageID.451   Page
                                 26 of 144




                       EXHIBIT B




                                    Exh. B1
Case 3:24-cv-01077-RSH-MMP   Document2453-2   Filed 09/25/24   PageID.452   Page
                                 27 of 144




                                    Exh. B2
Case 3:24-cv-01077-RSH-MMP   Document25
                                      53-2    Filed 09/25/24   PageID.453   Page
                                 28 of 144




                                    Exh. B3
Case 3:24-cv-01077-RSH-MMP   Document2653-2   Filed 09/25/24   PageID.454   Page
                                 29 of 144




                                    Exh. B4
Case 3:24-cv-01077-RSH-MMP   Document2753-2   Filed 09/25/24   PageID.455   Page
                                 30 of 144




                                    Exh. B5
Case 3:24-cv-01077-RSH-MMP   Document2853-2   Filed 09/25/24   PageID.456   Page
                                 31 of 144




                                   Exh. B6
Case 3:24-cv-01077-RSH-MMP   Document2953-2   Filed 09/25/24   PageID.457   Page
                                 32 of 144




                                   Exh. B7
Case 3:24-cv-01077-RSH-MMP   Document3053-2   Filed 09/25/24   PageID.458   Page
                                 33 of 144




                                    Exh. B8
Case 3:24-cv-01077-RSH-MMP   Document3153-2   Filed 09/25/24   PageID.459   Page
                                 34 of 144




                       EXHIBIT C




                                    Exh. C1
Case 3:24-cv-01077-RSH-MMP   Document 53-2   Filed 09/25/24   PageID.460   Page   32
                                 35 of 144




                                                                                  Exh. C2
                                                                                  33
Case 3:24-cv-01077-RSH-MMP   Document 53-2   Filed 09/25/24   PageID.461   Page
                                 36 of 144




                                                                                  Exh. C3
Case 3:24-cv-01077-RSH-MMP   Document 53-2   Filed 09/25/24   PageID.462   Page   34
                                 37 of 144




                                                                                  Exh. C4
Case 3:24-cv-01077-RSH-MMP   Document 53-2   Filed 09/25/24   PageID.463   Page    35
                                 38 of 144




                                                                                  Exh. C5
Case 3:24-cv-01077-RSH-MMP   Document 53-2   Filed 09/25/24   PageID.464   Page 36
                                 39 of 144




                                                                                Exh. C6
Case 3:24-cv-01077-RSH-MMP   Document 53-2   Filed 09/25/24   PageID.465   Page      37
                                 40 of 144




                                                                                  Exh. C7
Case 3:24-cv-01077-RSH-MMP   Document3853-2   Filed 09/25/24   PageID.466   Page
                                 41 of 144




                       EXHIBIT D




                                    Exh. D1
Case 3:24-cv-01077-RSH-MMP               Document3953-2     Filed 09/25/24     PageID.467      Page
                                             42 of 144
IN THE COUNTY COURT OF VICTORIA                                                               Revised
AT MELBOURNE                                                                            Not Restricted
COMMON LAW DIVISION                                                            Suitable for Publication
DEFAMATION LIST

                                                                             Case No. Cl-21-01623

KHURAMAN ARMSTRONG                                                                            Plaintiff

v

YULIA ASSATRYAN                                                                      First Defendant

and

ANNA GABRIELYAN                                                                  Second Defendant

and

KATYA KAHRAMANIAN                                                                    Fifth Defendant

                                                  ---

JUDGE:                                  HER HONOUR JUDGE CLAYTON
WHERE HELD:                             Melbourne
DATE OF HEARING:                        8, 9 and 10 November 2022
DATE OF JUDGMENT:                       30 March 2023
CASE MAY BE CITED AS:                   Armstrong v Assatryan & Ors
MEDIUM NEUTRAL CITATION:                [2023] VCC 7

                                    REASONS FOR JUDGMENT
                                             ---

Subject:                   DEFAMATION

Catchwords:                Defamation – Injurious falsehood – Publications on Facebook – Conflict
                           between Armenia and Azerbaijan – Grapevine effect – Defence of truth
                           – Offer to make amends – Defence of fair comment and honest opinion
                           – Defence of qualified privilege – Defence of reply to attack – Defence
                           of triviality – Damages – Non-pecuniary loss – Medical expenses –
                           Business losses – Mitigation – Apology – Settlement of other claims –
                           Republication by plaintiff – Aggravation

Legislation Cited:         Defamation Act 2005, s18, s25, s30, s31, s38

Cases Cited:               Lange v Australian Broadcasting Corporation (1997) 189 CLR 520;
                           Hockey v Fairfax Media Publications Pty Ltd (2015) 237 FCR 33;
                           Morgan v Odhams Press Ltd [1971] 1 WLR 1239; Charan v Nationwide
                           News Pty Ltd [2018] VSC 3; Charan v Nationwide News Pty Ltd [2019]
                           VSCA 36; Zoef v Nationwide News Pty Ltd [2016] NSWCA 283; Wilson


 COUNTY COURT OF VICTORIA                                                                           !Undefined Boo km ar k, I




 250 William Street, Melbourne
                                                Exh. D2
Case 3:24-cv-01077-RSH-MMP                Document4053-2     Filed 09/25/24     PageID.468      Page
                                              43 of 144
                           v Bauer Media Pty Ltd [2017] VSC 521; Belbin & Ors v Lower Murray
                           Urban and Rural Water Corporation [2012] VSC 535; Lower Murray
                           Urban and Rural Water Corporation v Di Masi; Lower Murray Urban and
                           Rural Water Corporation v Belbin; Lower Murray Urban and Rural Water
                           Corporation v Marciano (2014) 43 VR 348; Carson v John Fairfax &
                           Sons Ltd (1993) 178 CLR 34; Uren v John Fairfax & Sons Pty Ltd (1965)
                           66 SR (NSW) 223; Thompson v Australian Capital Television Pty Ltd &
                           Ors (1997) 129 ACTR 14; Wagner & Ors v Harbour Radio Pty Ltd & Ors
                           [2018] QSC 201; Praed v Graham (1889) 24 QBD 53; Broome v Cassell
                           & Co Ltd [1972] AC 1027; Cerutti & Anor v Crestside Pty Ltd & Anor
                           [2014] QCA 33; Triggell v Pheeney (1951) 82 CLR 497; Polias v Ryall
                           [2014] NSWSC 1692; Sierocki v Klerck (No 2) [2015] QSC 92; Graham
                           v Powell (No 4) [2014] NSWSC 1319

Judgment:                  Judgment for the plaintiff against the first, second and fifth defendants.

                                                   ---

APPEARANCES:                       Counsel                                    Solicitors

For the Plaintiff                  Ms P Wakhlu                                Australian Law Partners

For the First Defendant            The first defendant appeared in person                  -

For the Second Defendant           No appearance                                           -

For the Fifth Defendant            No appearance                                           -




                                                 Exh. D3


 COUNTY COURT OF VICTORIA                                                                           !Undefined Boo km ar k, II




 250 William Street, Melbourne
    Case 3:24-cv-01077-RSH-MMP             Document4153-2       Filed 09/25/24    PageID.469     Page
                                               44 of 144

HER HONOUR:


       Introduction

       1       Mrs Armstrong sells chocolate online through her business ‘Enjoy Dark Chocolate’.

               She promotes her business through her ‘Khuraman Armstrong’ Facebook page

               (“plaintiff’s business page”) and ‘Kay Abdullayeva’ Facebook page (“plaintiff’s

               personal Facebook page”).


       2       She sues the defendant, Mrs Assatryan, for defamation and injurious falsehood

               over six posts in July and October 2020 on those Facebook pages, and one on

               another site “Russian Women’s Network Facebook Page”.


       3       Mrs Armstrong says Mrs Assatryan has never been a customer of her chocolate

               business and made the comments maliciously and to cause damage, and as a

               result she has suffered harm to her reputation, psychological injury, and significant

               financial loss.

       4       Mrs Assatryan denies the comments carry the imputations pleaded, but says if

               they do, she has available a number of defences:


               (a)   offer to make amends;


               (b)   truth or contextual truth;


               (c)   fair comment and honest opinion;


               (d)   qualified privilege (Lange defence 1 and reply-to-attack);


               (e)   triviality.


       5       She also says Mrs Armstrong has failed to mitigate her own loss.


       6       The issues in this case are:


                                                      Exh. D4

1          Lange v Australian Broadcasting Corporation (1997) 189 CLR 520

                                                         1                                 JUDGMENT
VCC:AS/EM
                                                                            Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP            Document4253-2        Filed 09/25/24   PageID.470      Page
                                          45 of 144

            (a)   whether the posts carry the pleaded imputations;


            (b)   whether, in the particular context in which they were published, the

                  imputations would lower Mrs Armstrong’s reputation amongst reasonable

                  members of the community;


            (c)   whether Mrs Assatryan can make out any defence;


            (d)   whether, if the publications are defamatory, they have caused the business

                  loss and other pecuniary loss claimed, or, in the alternative, whether Mrs

                  Armstrong has made out a claim in injurious falsehood arising from false

                  statements by Mrs Assatryan;


            (e)   in what sum should damages be assessed.


     7      For the reasons that follow I am satisfied:


            (a)   the posts carry the pleaded imputations and are defamatory of Mrs

                  Armstrong.


            (b)   Mrs Assatryan has not made out any defence.


            (c)   Mrs Armstrong has not made out her claim in injurious falsehood.


            (d)   Mrs Armstrong has not established that Mrs Assatryan’s posts caused her

                  business loss or other pecuniary loss, and has not established the posts were

                  the cause of her psychiatric condition.


            (e)   Mrs Assatryan must pay Mrs Armstrong damages for defamation in the sum

                  of $70,000 which includes aggravated damages.


     8      Mrs Armstrong also sued a number of other people, and settled some of those

            claims.


     9      Judgment was entered against the second defendant, Ms Anna Gabrielyan, on 18

            October 2022, with damages to be assessed. Judgment was entered against the
                                                 Exh. D5
                                                   2                                   JUDGMENT
VCC:AS/EM
                                                                        Armstrong v Assatryan & Ors
    Case 3:24-cv-01077-RSH-MMP         Document4353-2    Filed 09/25/24   PageID.471      Page
                                           46 of 144

            fifth defendant, Ms Katya Kahramanian, on 18 October 2022, with damages to be

            assessed.


       10   For the reasons that follow, Ms Gabrielyan is ordered to pay Mrs Armstrong the

            sum of $25,000 and Ms Kahramanian is ordered to pay Mrs Armstrong the sum of

            $30,000.


       Background

       11   Mrs Armstrong was born in Azerbaijan, a former republic of the Soviet Union.


       12   Mrs Armstrong met her first husband, an Australian, in 2003. She moved with him

            to Brisbane in 2005 and became an Australian citizen in 2009.


       13   Mrs Armstrong worked in various occupations and moved to Melbourne in 2013,

            where she registered “Enjoy Dark Chocolate” in 2015.


       14   In 2017, she left her job to work full time in her chocolate business. She was not

            a chocolatier herself and relied on hiring professional chocolatiers to make her

            product. She concentrated on product development, marketing and distribution.


       15   Mrs Armstrong’s businesses and marketing are primarily targeted at the Russian-

            speaking community.

       16   Mrs Armstrong had an active social media presence on the “Russian Women’s

            Network Melbourne” Facebook group.


       17   She also created and managed a Facebook group titled “Global Storytellers

            Meetup Group” in August 2020. She says the goal of the group was “online

            networking and business promotion, and also supporting people from different

            cultural backgrounds”. 2


       18   Mrs Assatryan is from an Armenian background. She represented herself at trial,

            with her daughter acting as a McKenzie friend.


2       Joint Court Book (“JCB”) 113           Exh. D6

                                                 3                                  JUDGMENT
VCC:AS/EM
                                                                     Armstrong v Assatryan & Ors
    Case 3:24-cv-01077-RSH-MMP         Document4453-2        Filed 09/25/24      PageID.472       Page
                                           47 of 144

       19   In October 2018, Mrs Armstrong began selling a chocolate she had created which

            she named “Echoes of Shusha”. Her grandfather was from the city of Shusha, in

            the Nagorno-Karabakh region. The Nagorno-Karabakh region has been disputed

            territory between Azerbaijan and Armenia for many hundreds of years. On

            occasion that dispute has given rise to war between those countries. In mid-2020

            the dispute once again escalated to armed conflict between Azerbaijan and

            Armenia. Both sides suffered military and civilian casualties. Parts of the region

            which had been under Armenian control since the 1990s came under the control

            of Azerbaijan as a result of this conflict. It was in the context of this armed conflict

            that most of the posts were published.


       20   Mrs Armstrong says she decided to call her chocolate “Echoes of Shusha”:

                 “… not as a political statement about the continuing occupation of the
                  region, but based on my own childhood memories of the stunning
                  landscapes of this region, where my family was from, and which combined
                  rolling green hills and terracotta rooftops, reflecting the colours of my new
                  chocolate creation.” 3


       21   Mrs Armstrong was featured on an episode of an online television program

            “Russian Influence” (now known as “Foreign Influence”), where she says she

            discussed Azerbaijani cooking and culture and her chocolate business.


       22   On 23 July 2020, Ms Elina Reddy, the producer of the television program, posted

            a trailer promoting the upcoming episode on the “Russian Women’s Network

            Melbourne” Facebook group. The episode was aired on Russian Influence’s

            YouTube Channel and on Channel 31 in Melbourne and Geelong on 27 July 2020,

            and on Foxtel Aurora on 26 August 2020.


       The publications

       23   In July 2020, Mrs Assatryan posted a comment in response to Ms Reddy’s post

            on the Russian Women’s Network Facebook page, saying that Mrs Armstrong’s

            chocolates are “full of poison and crime”. 4

3       JCB 114
4       JCB 47, FASOC 3(a)                         Exh. D7

                                                     4                                     JUDGMENT
VCC:AS/EM
                                                                            Armstrong v Assatryan & Ors
    Case 3:24-cv-01077-RSH-MMP            Document4553-2    Filed 09/25/24        PageID.473       Page
                                              48 of 144

       24   In October 2020, Mrs Assatryan published four comments in reply to posts on the

            plaintiff’s personal Facebook page. These included the following statements:


            (a)   Mrs Armstrong should “stop mediating and supporting international terrorism”

                  and “be in jail for inciting ethnic hatred and nationalist attacks!”; 5


            (b)   Mrs Armstrong “is an open criminal person”, and “poisons our Australian

                  citizens with expired products which causes allergy and indigestion” and

                  “deliberately makes these chocolates to harm our beautiful Australia!”; 6


            (c)   Mrs Armstrong “poison[s] people” and is a “criminal and international

                  terrorist!”; 7 and


            (d)   Mrs Armstrong’s intentions are “nationalism and international terrorise!” [sic],

                  and that “chocolate has nothing to do with her source of living!”. 8


       25   Ms Assatryan posted two comments in response to recommendations made on

            the plaintiff’s business page.      In response to the recommendation of Elena

            Sperring posted on 7 October 2020, Mrs Assatryan posted that Mrs Armstrong

            “uses her chocolate for political reasons” and “poisons people” with “awful”,

            “expired” and poisonous chocolates. 9 In response to a review of Alexia Beau

            posted in October 2020, Mrs Assatryan posted that Mrs Armstrong is a “terrible

            person” and “will be jailed as an international terrorist!”. 10


            Are the pleaded imputations conveyed by the publications?

       26   Mrs Armstrong pleads the publications conveyed that she:


            (a)   is a terrible person;


            (b)   is a criminal;


5       JCB 41, FASOC 2(b)
6       JCB 42, FASOC 2(e)
7       JCB 43, FASOC 2(f)
8       JCB 44, FASOC 2(g)
9       JCB 45, FASOC 3(a)
10      JCB 46, FASOC 3(b)                        Exh. D8

                                                     5                                       JUDGMENT
VCC:AS/EM
                                                                              Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP              Document4653-2        Filed 09/25/24      PageID.474         Page
                                             49 of 144

            (c)   is an international terrorist;


            (d)   sells chocolates as a front for international terrorism;


            (e)   is a liar;


            (f)   sells poisonous chocolates;


            (g)   sells chocolates that cause allergies and indigestion;


            (h)   sells her chocolates for the purpose of poisoning people; and/or


            (i)   sells expired products.


     27     The principles in relation to whether the imputations are conveyed are well settled.

            The question is whether an ordinary reasonable reader would understand the

            matters complained of in the defamatory sense pleaded. 11 An ordinary reasonable

            reader is one who draws inferences and conclusions and may engage in a certain

            amount of ‘loose thinking’. 12 They are not lawyers and do not look for hidden

            meanings, or adopt a strained interpretation. They have ordinary intelligence,

            experience and education and are not suspicious or avid for scandal. The ordinary

            reader does not look at the matter complained of in isolation but considers the

            whole context.


     28     I must consider the sting of the publication in the eye of the reasonable reader of

            the publications and avoid the “trap of parsing and analysing each sentence or

            paragraph” 13 to see whether the publication as a whole conveyed the alleged

            imputations.


     29     Ms Assatryan denies that any of the imputations were conveyed, apart from the

            imputation that Mrs Armstrong is a liar.


                                                     Exh. D9

11     Hockey v Fairfax Media Publications Pty Ltd (2015) 237 FCR 33 at 49-50, paragraphs [63]-[65]
12     Morgan v Odhams Press Ltd [1971] 1 WLR 1239 at 1245
13     Charan v Nationwide News Pty Ltd [2018] VSC 3 at paragraph [35]

                                                      6                                      JUDGMENT
VCC:AS/EM
                                                                              Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP            Document4753-2        Filed 09/25/24    PageID.475       Page
                                           50 of 144

     30     In her posts Mrs Assatryan says that Mrs Armstrong is an “open criminal person”.

            I take this to mean Mrs Armstrong is ‘openly’ criminal . Mrs Assatryan says Mrs

            Armstrong is an international terrorist who incites ethnic hatred and nationalist

            attacks. Both those statements would, in the eyes of an ordinary reasonable

            reader, convey an imputation that Mrs Armstrong is a terrible person.


     31     The words “chocolate has nothing to do with her source of living” carry an

            implication that she has some other source of income. It comes after a statement

            that her real intention is nationalism and international terrorism. Viewed in the

            context of the publication as a whole with the comments that Mrs Armstrong is a

            criminal and an international terrorist and followed by a comment that Mrs

            Armstrong uses her chocolate for political purposes, a reasonable reader would

            infer that the chocolate business is a front for international terrorism.


     32     The imputation that Mrs Armstrong is a liar is not in dispute. The other imputations

            which disparage her chocolates are clearly made out on the face of the words

            published.


     33     Therefore, I am satisfied that the imputations as pleaded arising from the first

            defendant’s publications are conveyed.


            Are the meanings conveyed defamatory?

     34     The next question is whether any of those imputations are defamatory. Words are

            defamatory when the imputation lowers the person’s reputation in the eyes of

            reasonable members of the community, or causes the person to be ridiculed,

            shunned or avoided by members of the general public. 14


     35     Ms Assatryan admitted that, other than the imputation that Mrs Armstrong is a liar,

            the imputations were untrue. She did not submit that the imputations were not

            defamatory, and it is plain that the imputations are defamatory, in that they would

                                                  Exh. D10

14     Charan v Nationwide News Pty Ltd [2018] VSC 3 (upheld on appeal in Charan v Nationwide News Pty
       Ltd [2019] VSCA 36)

                                                    7                                     JUDGMENT
VCC:AS/EM
                                                                           Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP              Document4853-2          Filed 09/25/24     PageID.476        Page
                                             51 of 144

            tend to hold up the plaintiff to hatred and ridicule and lower her reputation in the

            eyes of her peers.


     Has Mrs Assatryan made out any defence?

            Truth

     36     The first defendant relies on a defence of justification pursuant to s25 of the

            Defamation Act 2005 and at common law.


            Was the imputation that Mrs Armstrong is a liar true?

     37     Mrs Assatryan says the imputation that Mrs Armstrong is a liar is true because Mrs

            Armstrong says she is not political, but her posts were, in fact, political. She points

            to the following:


            (a)   In a post on her Enjoy Dark Chocolate Facebook page on 17 October 2020,

                  Mrs Armstrong refers to her “peaceful and non-political personal and

                  business Facebook pages”.


            (b)   Her post on 10 October 2020 on the Enjoy Dark Chocolate Facebook page

                  says:

                          “At the time I launched my chocolate I avoided any direct reference
                           to the fact that Shusha, along with 20% of Azerbaijan, has been
                           under illegal occupation of Armenia for almost 30 years.

                          ….

                          … the dedication of my chocolate reflected the deep connection
                          Azerbaijanis still feel for their lands and the collective hurt that this
                          unresolved occupation causes our country.

                          I share this today, not to comment directly on the current war to
                          liberate Azerbaijani lands, but rather to acknowledge the hurt that
                          all unresolved occupation causes the rightful traditional owners of
                          all occupied lands.” 15


            (c)   Mrs Armstrong included hashtags at the bottom of her post:

                          “#Shusha #KarabakhisAzerbaijan #enjoydarkchocolate #azerbaijan.”




15     JCB 77                                         Exh. D11

                                                        8                                     JUDGMENT
VCC:AS/EM
                                                                               Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP             Document4953-2      Filed 09/25/24   PageID.477      Page
                                           52 of 144

     38     Mrs   Assatryan     says    references    to    “occupation”    and   the    hashtag

            “#KarabakhisAzerbaijan” are inherently political statements in the context of an

            ongoing dispute between Armenia and Azerbaijan.


     39     Mrs Assatryan says the hashtags used by Mrs Armstrong would, if clicked on by a

            reader, lead to anti-Armenian websites. These hashtags show that Mrs Armstrong

            “entered the fray” and she cannot maintain a claim that her pages are non-political

            and peaceful. To say she is non-political and peaceful is false and renders Mrs

            Armstrong a liar.


     40     Mrs Armstrong disputed, at trial, that the statement “Karabakh is Azerbaijan” is a

            political statement, because, she said, Karabakh is Azerbaijan. Mrs Armstrong

            pointed to United Nations’ declarations in relation to the region to support her

            position. She said her comments were both diplomatic and non-confrontational.


     41     Mrs Assatryan says this demonstrates the political nature of Mrs Armstrong’s

            statements, as the region is hotly contested and has been hotly contested for

            hundreds of years. Any assertion of sovereignty is an inherently political statement

            and cannot be considered simply a statement of fact.


     42     Mrs Assatryan also relied on the content of the television program featuring Mrs

            Armstrong. In that program, Mrs Armstrong spoke about the food and culture of

            Azerbaijan. During that program, a map of Azerbaijan was shown which showed

            the disputed Nagorno-Karabakh region labelled “occupied territory”.              Mrs

            Assatryan says this is a political statement. Mrs Armstrong says the map was a

            United Nations’ map.


     43     It is common ground between the parties that the issue of Nagorno-Karabakh is

            sensitive. It is not difficult to understand why saying “Karabakh is Azerbaijan”

            would be considered by Mrs Assatryan to be a political statement or why Mrs

            Armstrong’s reference to “their lands” when promoting her Echoes of Shusha

            chocolate would be considered inflammatory by some.

                                               Exh. D12

                                                  9                                   JUDGMENT
VCC:AS/EM
                                                                       Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP            Document5053-2       Filed 09/25/24   PageID.478      Page
                                          53 of 144

     44     It is also not difficult to understand why Mrs Armstrong would consider those

            statements to be factual and uncontroversial.         One can think of numerous

            examples where one person’s statement of “simple fact” is another person’s hotly

            contested and controversial view.


     45     I do not accept that a person who holds a controversial opinion, or expresses a

            political view, but denies that such an opinion is controversial, or such view is

            political, is necessarily a liar. A liar must be someone who does more than say

            something with which other people do not agree or which others consider to be

            false.


     46     A liar is more, even, than someone who is found to have spoken a mistruth. There

            must be an intent to mislead or deceive. Inadvertent mistruths or differing ideas

            about what words mean does not amount to lying.


     47     Mrs Armstrong may have been naive in thinking her views about Nagorno-

            Karabakh were simple statements of fact.            Mrs Armstrong may even be

            disingenuous in maintaining that her position is not in any way political. Possibly

            the echo chambers in which we all now tend to operate, particularly online, caused

            her to genuinely believe that, in the period immediately before and during an armed

            conflict, such views were not political statements. Likely her belief that she was

            non-political and peaceful represented wishful thinking.


     48     However, naivety, disingenuousness or wishful thinking are not the same as

            deception, or intent to mislead.


     49     There is nothing in the evidence that leads me to conclude that Mrs Armstrong is

            a liar.


     50     Therefore, the defence of truth in relation to the imputation that Mrs Armstrong is

            a liar is not made out.




                                                Exh. D13

                                                  10                                  JUDGMENT
VCC:AS/EM
                                                                       Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP            Document5153-2       Filed 09/25/24   PageID.479      Page
                                          54 of 144
            Did the posts carry a contextual imputation which was substantially true?

     51     It is a defence to the publication of defamatory matter if the defendant proves that

            the matter carried one or more imputations that are substantially true (the

            contextual imputations) and the defamatory imputations of which the plaintiff

            complains do no further harm to the plaintiff’s reputation because of the substantial

            truth of the contextual imputations.


     52     Mrs Assatryan says her comments carried the contextual implication that the

            plaintiff was promoting an aggressor country, Azerbaijan, and that contextual

            imputation was substantially true.     By reason of the substantial truth of the

            contextual imputation, each of the imputations pleaded by the plaintiff and found

            to be defamatory do not further harm her reputation.


     53     Mrs Assatryan says that Mrs Armstrong posted comments and a video after 27

            September 2020 which were all “strongly supportive of and promoting the position

            of Azerbaijan which, on 27 September 2020 had launched an aggressive military

            offensive into Armenian occupied territory”. She pleads that reports at the time

            included “fears that … Azerbaijan would attempt to ethnically cleanse the Nagorno-

            Karabakh of ethnic Armenians, thus increasing the seriousness of the contextual

            imputation”.

     54     No submissions were advanced in support of this pleading. It is not apparent how

            Mrs Assatryan argues that the comments carried the contextual imputations

            pleaded.


     55     Doing the best I can, I understand the defence to be that, by saying “Karabakh is

            Azerbaijan”, and by using the words “occupied” in relation to Armenian control of

            the region, Mrs Armstrong was supporting Azerbaijan in the conflict. From Mrs

            Assatryan’s perspective, Azerbaijan was the “aggressor” in the 2020 conflict and

            therefore Mrs Armstrong was promoting an aggressor country.


     56     To find that the imputations were substantially true, it would be necessary to:

                                                Exh. D14

                                                   11                                 JUDGMENT
VCC:AS/EM
                                                                       Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP            Document5253-2       Filed 09/25/24       PageID.480    Page
                                           55 of 144

            (a)   accept that Azerbaijan was an aggressor country; and


            (b)   Mrs Armstrong’s statements were promoting an aggressor country; and


            (c)   the comments posted by Mrs Assatryan carried imputations that Mrs

                  Armstrong was promoting an aggressor country.


     57     It is not necessary to make these findings because, even if it is correct that the

            imputations conveyed a meaning that Mrs Armstrong promoted an aggressor

            country, this cannot be said to do no further harm to her reputation.


     58     Imputations that she is a criminal, a terrorist and sells poisonous chocolate are

            clearly more serious than an imputation that she “promotes an aggressor country”

            which is vague, ill-defined and would not necessarily carry a defamatory meaning.


     59     In any event, I do not accept that the imputations pleaded carry a contextual

            imputation that Mrs Armstrong promotes an aggressor country. Four of the posts

            relate to the chocolate Mrs Armstrong sells. Two of the posts relate to personal

            characteristics (that she is a terrible person and a liar) and two relate to terrorist

            activity. None of these imputations could be said to carry the contextual meaning

            pleaded.


     60     Therefore, the defence of contextual truth is not made out.


            Was the offer of amends reasonable in all the circumstances?

     61     Section 18 of the Defamation Act, at the relevant time provided: 16

                  “Effect of failure to accept reasonable offer to make amends

                  (1)   If an offer to make amends is made in relation to the matter in
                        question but is not accepted, it is a defence to an action for
                        defamation against the publisher in relation to the matter if—

                        (a)   the publisher made the offer as soon as practicable after
                              becoming aware that the matter is or may be defamatory; and



                                                 Exh. D15

16     This section has subsequently been amended

                                                    12                                   JUDGMENT
VCC:AS/EM
                                                                          Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP               Document5353-2       Filed 09/25/24     PageID.481       Page
                                             56 of 144
                        (b)   at any time before the trial the publisher was ready and willing,
                              on acceptance of the offer by the aggrieved person, to carry out
                              the terms of the offer; and

                        (c)   in all the circumstances the offer was reasonable.

                  (2)   In determining whether an offer to make amends is reasonable, a
                        court—

                        (a)   must have regard to any correction or apology published before
                              any trial arising out of the matter in question, including the
                              extent to which the correction or apology is brought to the
                              attention of the audience of the matter in question taking into
                              account—

                              (i)    the prominence given to the correction or apology as
                                     published in comparison to the prominence given to the
                                     matter in question as published; and

                              (ii)   the period that elapses between publication of the matter
                                     in question and publication of the correction or apology;
                                     and

                        (b)   may have regard to—

                              (i)    whether the aggrieved person refused to accept an offer
                                     that was limited to any particular defamatory imputations
                                     because the aggrieved person did not agree with the
                                     publisher about the imputations that the matter in
                                     question carried; and

                              (ii)   any other matter that the court considers relevant.”


     62     Ms Assatryan says she first became aware of the proceeding when served with

            the writ on 23 April 2021. She was not provided with a concerns notice. She made

            an offer of amends on 8 June 2021, and further offers on 2 August 2021 and 30

            May 2022. She filed her defence on 9 June 2021 and therefore the first offer on 8

            June 2021 is the only offer relevant to the defence.


     63     The offer of amends on 8 June 2021 was to publish a correction, an apology and

            pay “expenses reasonably incurred” relating only to the claim against Mrs

            Assatryan. No sum of money for expenses was specified.


     64     Ms Assatryan says the offer was a reasonable offer in all the circumstances, which

            include:



                                                   Exh. D16

                                                      13                                   JUDGMENT
VCC:AS/EM
                                                                            Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP            Document5453-2        Filed 09/25/24   PageID.482      Page
                                           57 of 144

            (a)   that her comments were directed at political comments by Mrs Armstrong,

                  and plainly related to her political position, not to her chocolate;


            (b)   that the comments were published on Facebook pages primarily frequented

                  by Russian speakers who would have familiarity with the issues as between

                  Armenia and Azerbaijan and would likely have entrenched views about the

                  issue;


            (c)   that Mrs Armstrong made comments and used hashtags that were

                  inflammatory to Armenian people, and linked to anti-Armenian pages, at a

                  very sensitive time; and


            (d)   the fact that Mrs Assatryan had a number of defences available to her

                  including honest opinion and privilege defences.


     65     Mrs Assatryan also says the offer was reasonable, having regard to her own

            circumstances as a pensioner with no income or assets. The financial component

            of the offer was to be paid by her daughters who are young women of limited

            means, and she had no capacity to make a higher offer.


     66     Mrs Armstrong says this offer was not reasonable. The offer did not include

            compensation for any loss she had suffered. In any event, the amount offered was

            inadequate.


     67     Zoef Nationwide News Pty Ltd 17 establishes that the adequacy of the monetary

            offer is not to be judged by reference to the range of damages that the plaintiff

            would receive at trial but is to be informed by the seriousness of the defamation

            and the other components of the offer, including any apology, and the fact that

            acceptance of it would have made amends and obviated the need for a trial, and

            the risks of the proceeding being successful, taking into account the defences

            raised by the defendant.

                                                  Exh. D17

17     [2016] NSWCA 283 at paragraph [74]

                                                   14                                   JUDGMENT
VCC:AS/EM
                                                                         Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP              Document5553-2          Filed 09/25/24   PageID.483      Page
                                             58 of 144

     68     The imputations conveyed were of serious criminal conduct.                  The financial

            component of the offer did not include any offer of compensation. Had the offer

            made any provision for compensation it may have amounted to a reasonable offer

            which might then have given rise to a defence. However the absence of any

            compensatory element to the offer means it falls short of being a reasonable offer

            in all the circumstances.


     69     It therefore it does not constitute a defence.


            Fair comment and honest opinion

     70     The elements of the defence of fair comment are:


            (a)   that the comment must be recognisable as an expression of comment and

                  not a statement of fact;


            (b)   the comment must be based on fact, truly stated or referred to in the matter

                  complained of or in other proper material;


            (c)   the comment must relate to a matter of public interest; and


            (d)   the comment must satisfy the test that a fair-minded person could honestly

                  express that opinion on the proved facts. 18

     71     Ms Assatryan says her comments were an expression of opinion which related to

            a matter of public interest, and she is entitled to a defence of fair comment at

            common law and honest opinion pursuant to s31 of the Defamation Act.


     72     In support of her defence, Mrs Assatryan pleads that Mrs Armstrong had made

            political comments that contained lies. In the television program, she lied about

            the origins of Gata Karabakh Kata, which Mrs Assatryan pleads is an Armenian

            dish. This amounts to stealing Armenian recipes which is both a political act and

            a matter of public interest.

                                                      Exh. D18

18     Defamation Law in Australia (3rd edition), Patrick George, page 506

                                                       15                                   JUDGMENT
VCC:AS/EM
                                                                             Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP                Document5653-2    Filed 09/25/24   PageID.484      Page
                                              59 of 144

     73     However, the comment or opinion must be based on facts truly stated and must

            satisfy the objective test.


     74     Ms Assatryan’s publications do not satisfy either of these requirements. The facts

            do not support her forming the opinion that Mrs Armstrong is a criminal, an

            international terrorist or runs her business as a front for international terrorism.

            Mrs Assatryan has never been a customer of Mrs Armstrong’s and there is no

            basis upon which she could form an honest opinion about the quality of chocolates

            Mrs Armstrong sells.


     75     The cases recognise that an opinion may be exaggerated, biased, prejudiced or

            wrong.


     76     However, the evidence in this case does not support a finding that Mrs Assatryan

            held an honest opinion that Mrs Armstrong was a criminal or a terrorist. Mrs

            Assatryan conceded that she did not consider Mrs Armstrong was a criminal or

            terrorist.   Mrs Assatryan says her comments were clearly aimed at Mrs

            Armstrong’s political opinions and not her chocolates, but she directed comments

            specifically to the quality of Mrs Armstrong’s chocolate. A fair-minded person

            could not honestly express the opinions in the publications.


     77     The defences of fair comment or honest opinion fail.


            Privilege

     78     Ms Assatryan also pleads defences of qualified privilege.             She says her

            publications were of and concerning government and political matters and were

            reasonable in the circumstances. In her defence she pleads that the fact that the

            subject concerned government and political matters relevant to Australians can be

            inferred from speeches of Australian politicians Paul Fletcher and Trent

            Zimmerman at the time.




                                                 Exh. D19

                                                    16                                 JUDGMENT
VCC:AS/EM
                                                                        Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP           Document5753-2       Filed 09/25/24   PageID.485      Page
                                         60 of 144

     79     Ms Assatryan says, in the alternative, they were published on an occasion of

            privilege as a reply-to-attack as Mrs Armstrong was attacking Armenia and

            Armenians such as herself.


     80     Finally, she pleads defences of common law and statutory qualified privilege under

            s30 of the Defamation Act.


     81     Ms Assatryan made no submissions and put no evidence in relation to any of these

            defences.


            Were the matters complained of comments in relation to a government or
            political matter?

     82     It is not clear how Mrs Assatryan says her comments were in the furtherance of a

            government or political matter. The fact that people within Australia, including

            politicians, have an interest in Nagorno-Karabakh does not mean comments about

            Mrs Armstrong’s personal characteristics, chocolate or supposed terrorist links

            become matters that would attract this privilege.


     83     Even if I were to accept that the publications were political comments, Mrs

            Assatryan’s conduct in publishing the publications was not reasonable.          The

            defence fails.


            Were the matters complained of published as a reply to attack?

     84     There was no evidence of an attack on Mrs Assatryan. Mrs Assatryan pleads that

            Mrs Armstrong had generally attacked Armenians in her posts. Even if that is true,

            that is not an attack that would enliven the defence, which requires the individual

            to have been attacked.


     85     However, I do not accept that Mrs Armstrong’s posts constituted an attack on

            Armenia or Armenians.




                                               Exh. D20

                                                 17                                  JUDGMENT
VCC:AS/EM
                                                                      Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP             Document5853-2     Filed 09/25/24   PageID.486       Page
                                            61 of 144
            Were the matters complained of published on an occasion of qualified
            privilege?

     86     Ms Assatryan did not adduce evidence to establish who the recipients of the

            publications were or why they had an interest in having the information. The

            publications were on public Facebook pages to the world at large. The recipients

            of the publications may have included those with an interest in Azerbaijan,

            Armenia, chocolate, Russia, skincare, Mrs Armstrong’s friends and family, and

            others.


     87     It is not clear why any of these people would have an interest in the information.

            However even if I accepted that some of these people would have the requisite

            interest, I cannot be satisfied that all of the people who received the information

            would have such an interest.


     88     The common law defence of qualified privilege fails as Mrs Assatryan has not

            established the privileged occasion.


     89     The statutory defence of qualified privilege requires, in addition to demonstrating

            that the recipients had an interest in having the information and that the information

            was published in the course of providing that information, that Mrs Assatryan

            behaved reasonably in all the circumstances. 19 She must prove her conduct was

            reasonable in all the circumstances. She has not done so. The defence fails.


            Triviality

     90     Ms Assatryan says the publications were:


            (a)   uploaded among a flurry of other serious comments and posts made by

                  others;


            (b)   posted in the context of a war;


            (c)   in response to obviously controversial posts of the plaintiff supporting the

                  other country in that war;

19     Defamation Act 2005 (Vic), s30           Exh. D21

                                                    18                                 JUDGMENT
VCC:AS/EM
                                                                        Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP            Document5953-2     Filed 09/25/24     PageID.487      Page
                                          62 of 144

            (d)   able to be easily and quickly removed by Mrs Armstrong;


            (e)   likely only seen by a few people who were likely to already have strong views

                  themselves;


            (f)   likely to be seen by people who understand the emotional and partisan nature

                  of the points of views expressed;


            (g)   unlikely to have changed anyone’s perception of the plaintiff.


     91     The onus rests on a defendant to prove that the circumstances of publication mean

            a plaintiff would be unlikely to sustain any harm.


     92     The Court must consider the circumstances of the publication, not just the

            likelihood that the words themselves could cause harm. Serious imputations might

            not cause harm if publication of those imputations is to a small group of people

            who all know the plaintiff well and do not believe the allegations.


     93     Mrs Assatryan made submissions but did not put on any evidence to support her

            claim that the circumstances of the publication mean it is unlikely Mrs Armstrong

            would sustain any harm.


     94     There is no evidence that publication was confined to those who were aware of

            the Armenian and Azerbaijan conflict.


     95     The assertion that Mrs Armstrong could have quickly removed the posts is refuted

            by Mrs Armstrong, who says on Facebook business pages she does not have the

            capacity to remove publications expressed as “reviews”. She gave evidence that

            this limitation was known by Mrs Assatryan, who encouraged others to leave

            “reviews” rather than “comments” so as to avoid Mrs Armstrong deleting posts.


     96     I accept Mrs Armstrong’s evidence that reviews cannot be removed by the

            operator of the page.



                                              Exh. D22

                                                  19                                  JUDGMENT
VCC:AS/EM
                                                                       Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP             Document6053-2     Filed 09/25/24   PageID.488      Page
                                           63 of 144

     97     Mrs Assatryan has not established the publications were unlikely to cause any

            harm and, accordingly, the defence fails.


            Injurious falsehood

     98     Mrs Armstrong makes a claim in injurious falsehood for losses sustained to her

            business.


     99     Mrs Armstrong must prove:


            (a)   Mrs Assatryan made false statements of or concerning the plaintiff’s business

                  or goods; and


            (b)   published those statements to a third person; and


            (c)   was motivated by malice which can include an intention to cause harm of the

                  kind suffered; and


            (d)   as a result, she has suffered actual loss caused by false statements.


     100    In this case, Mrs Armstrong would need to prove that the financial loss she

            sustained to her business, Enjoy Dark Chocolate, was caused by the falsehoods

            contained in the publications.

     101    Mrs Armstrong has established that the statements were false. The statements

            that her business was a front for international terrorism, and that her chocolates

            are poison, cause allergies and indigestion and are expired are self-evidently

            statements concerning Mrs Armstrong’s goods or business.


     102    I am satisfied on the evidence that Mrs Assatryan was motivated by malice, in that

            she intended to cause harm to Mrs Armstrong in order to ensure her views about

            the conflict in Nagorno-Karabakh were “shouted down” or punished.


     103    However, Mrs Armstrong must also prove that the actual loss she claims arose

            from the particular false statements of Mrs Assatryan, and not from the social

            media attack more generally.
                                               Exh. D23

                                                 20                                  JUDGMENT
VCC:AS/EM
                                                                      Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP             Document6153-2       Filed 09/25/24     PageID.489       Page
                                           64 of 144

     104    This would require evidence that:


            (a)   The business lost sales or customers because the false statements caused

                  people to be so concerned by allegations of terrorism or the quality of Mrs

                  Armstrong’s chocolate that they declined to buy chocolate from her; or


            (b)   the false statements caused potential customers to be so concerned about

                  the quality of her chocolate or her customer service that they declined to buy

                  chocolate from her; or


            (c)   her inability to retain a chocolatier was a direct result of the false statements;

                  or


            (d)   Mrs Armstrong was unable to continue running her business because of the

                  false statements concerning her goods and business.


     105    The raw data provided by Mrs Armstrong and the evidence of Mr Armstrong

            demonstrates the decline in sales to the business.


     106    It is apparent that there were a number of factors that caused Mrs Armstrong’s

            business loss:


            •     the COVID-19 pandemic,


            •     the difficulty obtaining the services of a chocolatier


            •     her belief that she was facing an overwhelming social media attack


            •     her mental health and her capacity to run the business.


            Did Mrs Armstrong have difficulty sourcing a chocolatier because of the
            false statements?

     107    I cannot be satisfied that the inability to source a chocolatier was caused by the

            false statements.



                                                 Exh. D24

                                                   21                                     JUDGMENT
VCC:AS/EM
                                                                           Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP             Document6253-2          Filed 09/25/24   PageID.490      Page
                                           65 of 144

     108    Mrs Armstrong said that after the COVID lockdowns ended in September 2020

            she had secured the services of a chocolatier. She says what she describes as

            “the trolling attack” caused her to cease production while she dealt with the attacks

            and the effects they were having on her.


     109    Mrs Armstrong relied on a chain of email correspondence with Melbourne Bush

            Foods, with whom Enjoy Dark Chocolate had been having discussions about

            outsourcing chocolate production. The documents do not support a claim that the

            social media attacks generally, or any false statements by Mrs Assatryan, had any

            impact on Melbourne Bush Foods’ decision not to partner with Enjoy Dark

            Chocolate. It appears from the documents that Melbourne Bush Foods did not

            commit to production with Enjoy Dark Chocolate.


     110    Later, in July 2021, Enjoy Dark Chocolate entered into discussions with another

            chocolatier ‘Arno’. These discussions did not result in Arno working with Enjoy

            Dark Chocolate, but again, there is no evidence that this was a result of any

            statements by Mrs Assatryan, nor a consequence of the social media attack more

            generally. Instead, it appears Arno did not agree to the terms proposed by Mr

            Armstrong and both parties decided not to go into partnership.


     111    Mrs Armstrong relied on various other email exchanges with chocolatiers, and

            various advertisements in relation to her attempts to secure a chocolatier. None

            of that assists her in establishing that any potential chocolatier knew about the

            false and misleading statements of Mrs Assatryan, or the social media attack more

            generally, let alone establishes that either of those things was the reason for her

            difficulty in securing a chocolatier.


     112    It appears, rather, that the terms of the arrangement offered by the business were

            not satisfactory to the potential chocolatiers.


     113    I am not satisfied that the false statements caused Enjoy Dark Chocolate to be

            unable to engage a chocolatier.
                                                    Exh. D25

                                                    22                                    JUDGMENT
VCC:AS/EM
                                                                           Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP            Document6353-2       Filed 09/25/24    PageID.491       Page
                                           66 of 144
            Did customers stop ordering from Enjoy Dark Chocolate because of the false
            statements?

     114    There is no evidence that customers stopped ordering chocolates because of the

            false statements.


     115    Mrs Armstrong gave evidence that she was questioned about why Mrs Assatryan

            had made those comments and even years after they were posted people still

            raised them with her. That is not the same as people indicating they no longer

            purchased chocolates because of the statements.


     116    There is no evidence from which I can draw an inference that the statements

            caused people to stop ordering chocolates.


     117    In fact, the evidence demonstrates that the chocolates were not available for order,

            and this was a cause of disappointment.


     118    For example Saverio Motta, a former client of Enjoy Dark Chocolate, gave

            evidence by affidavit:

                 “1.   I am a former client of Enjoy Dark Chocolate. In my capacity as Sales
                       Manager for Readify/Telstra Purple I made Christmas purchases
                       from Enjoy Dark Chocolate in 2017 and 2018 worth approximately
                       $10,000 in each year. A copy of some of the invoices are at pages 5
                       and 6 of the bundle exhibit to this my affidavit.

                  2.   In late October 2020 I again contacted Khuraman Armstrong with the
                       view of providing EDC chocolate gift boxes to my clients as presents
                       for Christmas 2020.

                  3.   I was disappointed to hear that wasn’t possible given the wonderful
                       customer service, the quality products, and the positive feedback
                       from my clients that I had received over the prior years.

                  4.   I was even more saddened when Khuraman explained to me that the
                       reason why she could no longer supply us chocolates was because
                       of the impact of the online attacks upon Khuraman by various people
                       that were unknown to her on her Facebook page. I know from
                       previous conversations with Khuraman that the Christmas lead up
                       was the busiest time for their chocolate sales.” 20


     119    Elena Ponomareva gave evidence and relied on an affidavit in which she exhibited

            a comment she had posted in response to Mrs Assatryan. She noted in that post


20     JCB 412                                   Exh. D26

                                                   23                                    JUDGMENT
VCC:AS/EM
                                                                          Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP           Document6453-2        Filed 09/25/24    PageID.492       Page
                                          67 of 144

            ‘your chocolate is seriously the top quality, the best experience I’ve ever had and

            I’m not alone complaining about the lockdown simply because you are forced to

            stop production’.


     120    I do not accept that customers stopped placing orders because of the false

            statements.


            Were the false statements responsible for Mrs Armstrong’s mental state and
            inability to continue her business?

     121    Mrs Armstrong says:

                 “On 23 July 2020 even before the show aired, hate comments from
                  Armenian group members started to appear on the Russian Women’s
                  Network Melbourne Facebook page…

                  One of these comments was made by the first defendant

                  ...

                  I was too terrified to respond to any of those comments directly but
                  immediately asked the administrator of the page to take the posts down.
                  However as the administrator did not remove the comments until the next
                  day 7500 members of that group potentially saw the first defendant’s
                  defamatory comment.”


     122    She said that the viral effects of her television appearance and her chocolate posts

            “led to a vicious, racially motivated mob attack” which included more than 80

            trolling posts, fake reviews and threats of violence.


     123    Mrs Armstrong said that Mrs Assatryan commented on, and liked others posts that

            had similar content which led Mrs Armstrong to form the view that Mrs Assatryan

            was directing the attacks. She said she checked the Facebook pages of those

            attacking her and discovered that:

                 “…long before they attacked me they all had one thing in common – an
                  apparent hatred to Turks and Azerbaijanis. I saw multiple threads on their
                  personal profiles looking to find and punish Azerbaijanis in various
                  countries because of their nationality, including publishing phone numbers
                  and addresses of some of their targets. This made me fear for my life,
                  given they already knew my phone number and address and had started
                  phone threats against myself.” 21



21     JCB 118                                   Exh. D27

                                                   24                                    JUDGMENT
VCC:AS/EM
                                                                          Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP                Document6553-2      Filed 09/25/24     PageID.493    Page
                                               68 of 144

     124    Mrs Armstrong said reading all the messages made her very scared and even

            today she still shakes and cries when she reads them. She still feels scared to

            post her location on social media, and lives in constant fear.


     125    She gave detailed evidence about the effects of the attacks on her, which included

            recurring memories, difficulty breathing, depression and anxiety.


     126    She relies on a report of Dr Mark Schiff, psychiatrist, who started treating her in

            February 2021.        He diagnosed her with post-traumatic stress disorder with

            secondary panic and depressive symptoms and severe dissociative and cognitive

            symptoms. He considers her prognosis guarded having regard to the length and

            severity of her symptoms. He says, “the effect of the defamatory actions has a

            direct and long-lasting impact on all aspects of [her] life including her mental and

            physical health, personal and social relationships and trajectory of her working

            career.”.


     127    Mrs Armstrong exhibited to her affidavit some of the messages she received but

            which are not sued on. For example: 22


            (a)   ‘Vito Mike’ posted “Khuraman Armstrong Stay where you are and I am

                  coming to show you the real fascist aggression, looks like you have never

                  seen it in real life”;


            (b)   in response to a comment “Your country full of Terrorist” by an unknown

                  person, Yeg Sat posted “yes you are right. Shusha is full of them now. Don’t

                  worry. Cleaning in process.”


            (c)   Mark Alexanian posted “I have two homes in Shushi, and been living there

                  for 100 years. You stay dreaming azeri occupant barbaric rat. Karabagh is

                  Armenia yesterday, today and tomorrow forever.                azerGAYjan days are

                  numbered, ISIS compound motherfucker bitches.”



22                                                  Exh. D28
       JCB 248-249

                                                     25                                   JUDGMENT
VCC:AS/EM
                                                                           Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP            Document6653-2      Filed 09/25/24      PageID.494     Page
                                          69 of 144

            (d)   Mark Alexanian posted a photograph of Mrs Armstrong with the text “the

                  whore” written above it.


     128    It is not difficult to imagine that these posts would cause fear and anxiety and could

            result in Mrs Armstrong feeling unsafe. However, there is no evidence that Mrs

            Assatryan had any involvement with these posts. These are not the posts that are

            the subject of her claim in injurious falsehood, or defamation.


     129    The evidence supports a finding that in the period leading up to Christmas 2020,

            Mrs Armstrong was not in a state of mind to be able to run her business. I am

            satisfied that this was, at least in part, caused by the social media attack she was

            undergoing, and, in particular, her personal feelings of being unsafe because of

            threats made.


     130    Of particular concern to Mrs Armstrong was the threat to her personal safety and

            the fact that phone calls were made to her at home. There is no evidence Mrs

            Assatryan was responsible for any of those threats or of making phone calls to Mrs

            Armstrong.


     131    Nor, aside from suggesting people post reviews rather than comments, is there

            evidence that Mrs Assatryan directed or coordinated attacks by others. She

            specifically denied having done so.      Although Mrs Armstrong appears to have

            attributed much of the blame for the overall social media attack to Mrs Assatryan,

            she has not made out this case. There are numerous other posts which make

            similar comments to those made by Mrs Assatryan and I am not satisfied that Mrs

            Assatryan was the instigator of those other posts.


     132    Dr Schiff’s opinion relates to ‘the defamatory actions’ but does not specifically

            consider the false statements of Mrs Assatryan.          It is consequently of little

            assistance in determining the role of Mrs Assatryan’s false statements in her

            business and pecuniary loss.


                                               Exh. D29

                                                  26                                   JUDGMENT
VCC:AS/EM
                                                                        Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP           Document6753-2       Filed 09/25/24   PageID.495      Page
                                         70 of 144

     133    Rosalia Gonzalez gave evidence by affidavit that she saw many negative

            comments on the plaintiff’s personal Facebook page in about October 2020. She

            says Mrs Armstrong was extremely upset and could not believe “these Armenians”

            were attacking her so horribly. Ms Gonzalez identifies the posts of Mrs Assatryan

            as “one of the worst” that was posted about Mrs Armstrong. The thread relied on

            by Mrs Gonzalez shows numerous other comments in support of Mrs Armstrong,

            including encouraging her to take matters further and noting Mrs Assatryan’s

            comments are “despicable allegations” for which she should be reported,

            rhetorically asking “who is going to believe your nonsense arguments?” and “how

            come making chocolate can be a terrorist act?”


     134    That thread does not support a finding that Mrs Assatryan’s posts were the cause

            of Mrs Armstrong’s loss. Ms Gonzalez’s evidence supports a finding that the social

            media attack generally caused Mrs Armstrong’s mental health decline.


     135    I am not satisfied on the evidence that Mrs Assatryan’s false statements caused,

            or would have been capable of causing, the extent of Mrs Armstrong’s psychiatric

            injuries which rendered her incapable of continuing her business at that time.


     136    Therefore, Mrs Armstrong’s claim for injurious falsehood is dismissed.


     Damages

     137    Mrs Armstrong has established the imputations pleaded were conveyed and were

            defamatory.   Mrs Assatryan has not established any of her defences.             Mrs

            Armstrong is entitled to damages from Mrs Assatryan for defamation.


            Extent of publication

     138    Mrs Armstrong gave evidence that when comments started to appear on the

            Russian Women’s Network Melbourne Facebook page in relation to her television

            program the posts were not removed until the next day and the comments were

            available to be viewed by the 7,500 members of that Facebook community.


                                               Exh. D30

                                                 27                                  JUDGMENT
VCC:AS/EM
                                                                      Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP           Document68
                                              53-2         Filed 09/25/24   PageID.496      Page
                                         71 of 144

     139    By October 2020, she says there were more than 80 posts, fake reviews and

            threats of violence posted on her Facebook pages. The Enjoy Dark Chocolate

            Facebook page had about 4,500 followers at the time of the publications. Her

            Instagram page has 1,426 followers.


     140    She was contacted by many business colleagues and friends who saw the posts

            and relies on a grapevine effect.


            Damage to reputation

     141    Mrs Armstrong says that prior to the “attacks”, her advertisements on the Russian

            Women’s Network Facebook Group would get about 80 to 90 comments, but now

            those same advertisements get barely ten comments.


     142    Her Enjoy Dark Chocolate page still has over 4,500 followers but is largely

            dormant.


     143    She says, as a consequence of the publications by all defendants, she gets

            recurring memories, disturbed feelings, feels tight in her chest and is unable to

            breathe freely. She no longer feels safe at home and can no longer do her job

            because of fear and anxiety. She is under financial pressure.


     144    She says she has been asked about her connection to terrorist organisations and
            is regularly asked about the comments and why “those people could hate [her]”.


     145    She says people assume that she does not like Armenians, which is not true, and

            which she finds humiliating. This causes her to withdraw from individuals and

            Facebook groups. She then feels socially isolated.


            Hurt and embarrassment

     146    After reading the comments posted by Mrs Assatryan, Mrs Armstrong says she

            was shaking, scared and crying for days. She attempted to have the comments

            removed but her request was denied. She says, even now, she feels scared to

            post her location on social media and she lives in constant fear.
                                                Exh. D31

                                                  28                                  JUDGMENT
VCC:AS/EM
                                                                       Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP          Document6953-2      Filed 09/25/24    PageID.497       Page
                                         72 of 144
            Medical expenses

     147    Mrs Armstrong says she suffers acute anxiety and post-traumatic stress disorder

            and has sought treatment from two psychiatrists and psychologists. She has been

            prescribed anti-depressant medication and has had acupuncture, massage and

            herbal medicine. She makes a claim for the costs of these treatments which total

            $20,141.36. She claims for future medical expenses.


            Business losses

     148    Mrs Armstrong claims damages for business losses as special damages caused

            by the defamation if her claim for injurious falsehood is not made out. She says

            as a consequence of the defendants’ imputations and her “fear of further

            defamatory posts”, she was unable to fully promote her business from October to

            December 2020.


     149    She says that the COVID-19 lockdowns were easing in September 2020 and she

            had secured “the services of our chocolatiers in preparation for a strong run to

            Christmas”. However, as the Christmas marketing campaign was about to launch,

            the “trolling attack” began and caused her to cease production while she dealt with

            the attacks and the effect they were having on her. As a result, she says the staff

            secured other work and she was unable to restart production.


     150    She says her business suffered dramatically. Despite her best efforts to keep

            trading, she has been unable to overcome the negative impacts of the publications.

            She claims $17,618.34 in lost income from sales.


     151    She says she has lost the value of her business in the amount of $24,000. She

            relies on an expert report prepared by forensic accountant, Carissa Lacey. 23


     152    She says she was unable to complete an expensive course she had enrolled in

            and claims the cost of this course in the amount of $13,000.




23     JCB 639                                Exh. D32

                                                 29                                  JUDGMENT
VCC:AS/EM
                                                                      Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP             Document7053-2      Filed 09/25/24      PageID.498       Page
                                            73 of 144
     Assessment

     153    There are well-established principles for assessing damages in defamation. Such

            principles are helpfully summarised by John Dixon J in Wilson v Bauer Media Pty

            Ltd: 24


            (a)   Damages should provide consolation for hurt feelings, damage to reputation

                  and vindication of the plaintiff’s reputation; 25


            (b)   Damages ought to reflect the high value which the law places upon reputation

                  and, in particular, upon the reputation of those whose work and life depends

                  upon their honesty, integrity and judgment; 26


            (c)   The gravity of the libel and the social standing of the parties are relevant to

                  assessing the quantum of damages necessary to vindicate the plaintiff. The

                  award must be sufficient to convince a bystander of the baselessness of the

                  charge;


            (d)   There must be an appropriate and rational relationship between the harm

                  sustained by the plaintiff and the amount of damages awarded;


            (e)   The extent of publication and the seriousness of the defamatory sting are

                  pertinent considerations;

            (f)   In determining the damage done to a plaintiff’s reputation, the Court should

                  also take into account the “grapevine” effect arising from the publication; 27


            (g)   It is well accepted that injury to feelings may constitute a significant part of

                  the harm sustained by a plaintiff; 28 and


                                                 Exh. D33


24     [2017] VSC 521 at paragraph [59] (“Wilson”)
25     Belbin & Ors v Lower Murray Urban and Rural Water Corporation [2012] VSC 535 at paragraph [242]
26     Wilson (supra) citing Carson v John Fairfax & Sons Ltd (1993) 178 CLR 34
27     Lower Murray Urban and Rural Water Corporation v Di Masi; Lower Murray Urban and Rural Water
       Corporation v Belbin; Lower Murray Urban and Rural Water Corporation v Marciano (2014) 43 VR 348
       at 388-390
28     Wilson (supra) citing Carson v John Fairfax & Sons Ltd (supra) at 71

                                                    30                                    JUDGMENT
VCC:AS/EM
                                                                           Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP             Document7153-2        Filed 09/25/24       PageID.499    Page
                                            74 of 144

            (h)   Aggravated damages are a form of compensatory damages and, where

                  appropriate, form part of the general damages awarded to a successful

                  plaintiff for non-economic loss, designed to reflect aggravation caused to a

                  plaintiff’s hurt or injury by reason of some conduct of the defendant.


     154    Where there are multiple defamatory publications by different people:

                  “… The defendant must answer fully in damages to the extent that its
                   publication has brought about damage to reputation, but for the damage
                   solely caused by its publication.” 29


     155    Mrs Armstrong relied on her own evidence and evidence of a number of other

            people, including her husband and a colleague, Ms Elena Ponomareva, as to her

            standing within the Azerbaijani and Russian-speaking community in Australia. It

            is apparent that she has had a very successful career in a number of fields and

            appears to have an entrepreneurial spirit. As a migrant to this country she has

            started two businesses and is active in various communities. She is described by

            Mr Tofik Mamedov as offering “outstanding” customer service. 30 Ms Ponomareva

            gave evidence of the “enormous time and commitment” she has given to her Nu

            Skin business, including attending and presenting at numerous leadership events.

            She describes Mrs Armstrong as going “way above and beyond to firstly welcome

            and host clients in her home, and then to ensure they receive the best possible

            advice and support”. 31


     156    It is clear that as a businesswoman in the Russian-speaking community, Mrs

            Armstrong had a reputation for hard work and excellent customer service.

     157    Each case necessarily turns on its own facts. In this case, it is difficult to imagine

            that many people would have read the publications and formed the view that Mrs

            Armstrong was an international terrorist or involved in international terrorism.

            Nevertheless, those comments may have caused an ordinary reasonable reader

            to have a lower opinion of Mrs Armstrong, or for her reputation to be damaged by

29     Uren v John Fairfax & Sons Pty Ltd (1965) 66 SR (NSW) 223 (“Uren”) at 229
30     JCB 418
31     JCB 398
                                                   Exh. D34

                                                     31                                    JUDGMENT
VCC:AS/EM
                                                                            Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP            Document7253-2      Filed 09/25/24     PageID.500      Page
                                           75 of 144

            a reader thinking that there may be something sinister associated with Mrs

            Armstrong’s business.


     158    The comments, replies, and “likes” by other Facebook users also indicate that the

            publications were read. Given the number of followers Mrs Armstrong’s pages had

            and the significant number of responses, 32 I am satisfied that it is likely that

            hundreds of people saw the comments.


     159    There is also evidence of some grapevine effect within the relatively small

            community of Russian speakers in Australia, for example the evidence that people

            asked her about the comments, and formed a view that she had a problem with

            Armenian people.


     160    It is clear from the evidence that a substantial component of the damage caused

            to Mrs Armstrong is the hurt and embarrassment she has suffered and the

            consequences for her mental health of the social media “attack” on her and her

            business.


     161    No doubt each of the defamatory publications caused Mrs Armstrong hurt and

            embarrassment; however, it is apparent from her evidence that the overwhelming

            nature of the social media barrage was the cause of her psychiatric injury. In

            particular the threatening messages she received are more likely to be responsible

            for her fears for her personal safety, than comments about the quality of her

            chocolate.


     162    Mrs Armstrong points to the role Mrs Assatryan had in encouraging others to “pile

            on” and directing people to leave reviews rather than comments (which were more

            difficult to delete) to support a claim that Mrs Assatryan had a significant role in the

            overall “attack”. Having reviewed the numerous publications, I accept that Mrs

            Assatryan played an early and significant role. I do not accept that the evidence

            establishes that she orchestrated or directed the attack.


32     JCB 56, 108                              Exh. D35

                                                   32                                   JUDGMENT
VCC:AS/EM
                                                                         Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP            Document7353-2       Filed 09/25/24    PageID.501      Page
                                          76 of 144

     163    Mrs Assatryan’s comments do not have to be the only cause of Mrs Armstrong’s

            loss and damage, provided I am satisfied that they are one of the causes.


     164    In assessing the appropriate damages for which Mrs Assatryan is liable, I must be

            satisfied of the damage caused, or capable of being caused, by her publications.


     165    I do not accept, on the balance of probabilities, that the seven publications for

            which Mrs Armstrong sues Ms Assatryan caused or could have been capable of

            causing her post traumatic stress disorder, or any other psychiatric injury.


     166    Therefore, Mrs Assatryan is not liable for the medical expenses claimed.


     167    Mrs Armstrong’s inability to run her business was a result of her psychiatric

            condition. It was her inability to run her business that caused her business losses

            rather than any loss of custom, or inability to retain a chocolatier.


     168    I am not satisfied, for the reasons set out in my findings in relation to injurious

            falsehood, that Mrs Assatryan is liable for the business losses sustained.


            Mitigation

     169    Section 38 of the Defamation Act provides factors that can be considered in

            mitigation of damages. These include an apology or correction, the fact the plaintiff
            has already recovered damages in relation to other publication of the same matter,

            or for publications having the same meaning or effect.


            Apology

     170    Ms Assatryan commenced her evidence in court by saying that at the time of

            making the publications she was upset. Melbourne was in a COVID-19 lockdown

            and reading the bad news about the situation in Nagorno-Karabakh caused an

            emotional response. She did not respond in a healthy way. She regretted her

            actions and had tried many times to rectify the situation. She had offered to

            apologise and retract her statements.


                                                Exh. D36

                                                   33                                  JUDGMENT
VCC:AS/EM
                                                                        Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP            Document7453-2        Filed 09/25/24     PageID.502      Page
                                           77 of 144

     171    Ms Assatryan’s apology appeared genuine; however, it is somewhat diminished

            by the fact that she maintained her defences and conducted her case in a way that

            continued to suggest that Mrs Armstrong was, in part, to blame for posting what

            Mrs Assatryan considered to be inflammatory material. I do not consider the

            apology to be a mitigating factor.


            Settlement of other claims

     172    If some of the damage done to a plaintiff’s reputation is the result of multiple

            defamations, a plaintiff ought not be compensated twice for the same loss. 33


     173    Section 38 is to be applied in a broad way to prevent a plaintiff receiving double

            compensation.     Whilst requiring the defendant to answer fully in damages, it

            restricts those damages to the injury caused by the publication sued upon by the

            plaintiff. 34


     174    With respect to hurt feelings, it is the hurt occasioned by matters complained of in

            the present proceeding that is to be compensated. 35


     175    Mrs Armstrong had settled defamation claims against a number of other

            defendants prior to trial and has received a total amount of about $80,000 in

            compensation. She submitted that the defamatory claims made by those other
            defendants afforded no mitigatory prospects as the imputations were significantly

            different, for example that Mrs Armstrong had stolen chocolate recipes or was a

            poor businesswoman.


     176    Ms Assatryan’s publications were across all three Facebook pages operated by

            the plaintiff. The publications for which the plaintiff has already been compensated

            were only on the business page.



                                                  Exh. D37


33     See Uren (supra) at 230
34     Thompson v Australian Capital Television Pty Ltd & Ors (1997) 129 ACTR 14 at 24
35     Wagner & Ors v Harbour Radio Pty Ltd & Ors [2018] QSC 201 (“Harbour Radio”) at 887

                                                    34                                    JUDGMENT
VCC:AS/EM
                                                                           Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP              Document7553-2     Filed 09/25/24     PageID.503       Page
                                             78 of 144

     177      In Harbour Radio, 36 the Court held that publication to different audiences is a factor

              to be considered in relation to mitigation.


     178      I accept that the publications sued upon contain at least some distinct imputations.

              Mrs Assatryan made comments on different Facebook pages, though the evidence

              of Mrs Armstrong was that her social media platforms were significantly inter-

              related. Nevertheless, it is likely that some people who saw Mrs Assatryan’s

              publications did not see the publications of the other defendants.


     179      Given that a substantial part of Mrs Armstrong’s damages are for hurt and

              embarrassment, and this can be awarded only in relation to the hurt caused by

              each defendant’s publication, I do not consider there is any significant mitigatory

              effect of the settlement of other proceedings.


     180      To the extent that the compensation already received provides vindication to Mrs

              Armstrong, it does so on the basis of those publications only. The settlement of

              those claims is likely to have had only a modest impact in ameliorating the harm

              she sustained and restoring her reputation. A simple arithmetical reduction of the

              compensation already received from damages she is entitled to against each of

              the remaining defendants is inappropriate, given that each of them is liable only

              for the damage they have caused. I am not persuaded there has been substantial

              rehabilitation afforded by the settlement of those other claims.


              Republication by the plaintiff

     181      Ms Assatryan also argues that Mrs Armstrong has failed to mitigate her own loss

              by republishing some of the posts complained of. Mrs Armstrong republished

              those posts to demonstrate the attack she considered she had been under. I do

              not accept that this “republication” was itself responsible for any of the harm she

              sustained.



                                                 Exh. D38

36     Ibid

                                                     35                                   JUDGMENT
VCC:AS/EM
                                                                           Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP              Document7653-2        Filed 09/25/24      PageID.504        Page
                                             79 of 144
            Aggravation

     182    The plaintiff claims aggravated damages against each of the defendants to

            compensate her for the increased hurt and humiliation she has experienced as a

            result of the defendants’ conduct up to the date of judgment. 37


     183    The test is whether the defendants’ conduct was improper, unjustifiable or lacking

            in bona fides. 38


     184    Mrs Armstrong says Mrs Assatryan has aggravated her damages by relying on a

            truth defence. She says Mrs Assatryan was motivated by malice and with the sole

            purpose of causing Mrs Armstrong harm. She encouraged others to also attack

            Mrs Armstrong.


     185    The defamatory statements in this case made by Mrs Assatryan as well as

            numerous other people on the plaintiff’s social media page, are unfortunately

            indicative of the venting of spleen that can frequently be seen online.


     186    The veneer of anonymity afforded by social media allows people who might

            ordinarily keep their thoughts to themselves to publicly vent without considering

            the consequences. A pile-on ensues. It is much easier to demonise an online

            presence and to forget that behind the online presence is a real person who is

            impacted.

     187    Mrs Assatryan never genuinely thought Mrs Armstrong was a terrorist, a criminal,

            was poisoning people or was running a front for international terrorism. Mrs

            Assatryan, like many people, considered she had an entitlement to express her

            opinion. She said, “I had no idea about defamation”. She did not think about the

            impact on the plaintiff’s livelihood. She was upset about Mrs Armstrong’s posts

            and wanted them to be removed. She did not want the conflict in Nagorno-

            Karabakh to be “melded” with chocolate. It goes without saying she was and is
                                                    Exh. D39
37     See for example Praed v Graham (1889) 24 QBD 53 at 55 (Lord Escher MR); Broome v Cassell & Co
       Ltd [1972] AC 1027 at 1071 (Lord Hailsham of St Marylebone LC); Cerutti & Anor v Crestside Pty Ltd &
       Anor [2014] QCA 33 at paragraph [37] (Applegarth J)
38     Triggell v Pheeney (1951) 82 CLR 497 at 514 (Dixon, McTiernan, Williams, Webb and Kitto JJ)

                                                      36                                     JUDGMENT
VCC:AS/EM
                                                                              Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP          Document7753-2      Filed 09/25/24   PageID.505      Page
                                         80 of 144

            entitled to have and express those views. However, she went well beyond her

            entitlement to freely express her views. Making extreme allegations that Mrs

            Armstrong was a terrorist and a criminal, and posting untrue negative comments

            about the source of Mrs Armstrong’s income – the quality of her chocolate – is not

            protected free speech.


     188    Mrs Assatryan’s conduct aggravated the harm caused to Mrs Armstrong and Mrs

            Armstrong is entitled to aggravated damages.


     Award of damages against Mrs Assatryan

     189    In assessing all the factors I must weigh up, I consider the hurt to Mrs Armstrong

            to be the most significant consequence of the publications.


     190    Mrs Assatryan published across multiple Facebook pages, ensuring greater

            exposure. She published numerous times. She encouraged others to post and

            provided a tip on how to ensure the posts were not easily removed. I consider an

            appropriate award of damages arising from the first defendant’s publications is

            $70,000 including aggravated damages.


     Assessment of damages against the second and fifth defendants

     191    Judgment was entered against the second and fifth defendants. As a result, the

            allegations in the pleading are taken to have been proved.


            Anna Gabrielyan’s publications

     192    The second defendant, Ms Anna Gabrielyan, published two reviews and one

            comment on the plaintiff’s business page. In October 2020, Ms Gabrielyan posted

            that Mrs Armstrong “uses some sweets to make terrorist statements and support

            [A]zerbaijani aggression during war times”. 39 Ms Gabrielyan’s second review says

            Mrs Armstrong “deletes all the constructive criticism from her product comments”

            and exhibits “poor very ignorant behavio[u]r for an entrepreneur!”. 40 After Mrs

            Armstrong comments on this review, saying that Ms Gabrielyan has never
39     JCB 48, FASOC 9(a)
40     JCB 49, FASOC 9(b)                     Exh. D40

                                                 37                                 JUDGMENT
VCC:AS/EM
                                                                     Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP                Document7853-2      Filed 09/25/24   PageID.506      Page
                                               81 of 144

            purchased her chocolates, Ms Gabrielyan says that she will never purchase Mrs

            Armstrong’s chocolates, says Mrs Armstrong is “a terrorist” and that her “product”

            is the “terrorism that [she] support[s]!”. 41


            Imputations pleaded

     193    Mrs Armstrong pleads the publications conveyed that she:


            (a)   is a liar;


            (b)   is ignorant;


            (c)   is a poor businesswoman;


            (d)   is involved in terrorism;


            (e)   is a terrorist; and/or


            (f)   supports terrorism.


            Katya Kahramanian’s publication

     194    In October 2020, the fifth defendant, Ms Katya Kahramanian, published a review

            on the plaintiff’s business page alleging that Mrs Armstrong ignored multiple

            requests for a refund after Ms Kahramanian ordered chocolates that became lost

            in transit. 42


            Imputations pleaded

     195    Mrs Armstrong pleads the publication conveys she:


            (a)   failed to deliver chocolates to her;


            (b)   failed to refund money for undelivered chocolates;


            (c)   ignored customers with complaints;



41     JCB 49, FASOC 9(c)
42     JCB 52, FASOC 27(a)                          Exh. D41


                                                     38                                   JUDGMENT
VCC:AS/EM
                                                                           Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP           Document7953-2       Filed 09/25/24   PageID.507      Page
                                          82 of 144

            (d)   had poor customer service; and/or


            (e)   had customer service that was worth zero stars.


            Mrs Armstrong’s response to the publications of the second and fifth
            defendants

     196    Mrs Armstrong says, reading the second defendant’s comments caused her to be

            shocked and shaking. She cried in disbelief. The second defendant also posted

            a fake review which “left … [her] crying as all … [her] hard work was collapsing all

            around … [her]”. 43


     197    Mrs Armstrong says she was devastated after reading the fifth defendant’s

            comments. The fifth defendant was never a customer and had no knowledge of

            her product or customer service. When she responded in the comments to the

            review, the fifth defendant doubled down and said Mrs Armstrong was “rude” and

            that the comment proved her poor customer service. Mrs Armstrong says she had

            no way of demonstrating to new people visiting her pages that the review was fake.

            It was damaging to her chocolate business as well as her own “brand”.


            Damage to Mrs Armstrong’s reputation

     198    I am satisfied that the publications by Ms Gabrielyan and Ms Kahramanian are

            likely to have caused harm to Mrs Armstrong’s reputation.


     199    There is evidence that the statements were seen by a number of people. 44


     200    While it is unlikely Ms Gabrielyan’s posts would have caused anyone to be

            persuaded that Mrs Armstrong was a terrorist, they would tend to cause a

            reasonable reader to have concerns or doubts and to think less of Mrs Armstrong.

            Ms Gabrielyan’s comments about Mrs Armstrong’s customer service and business

            are likely to harm her reputation as a professional chocolate seller.



                                                Exh. D42

43     JCB 119
44     JCB 406-456

                                                  39                                  JUDGMENT
VCC:AS/EM
                                                                       Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP           Document8053-2      Filed 09/25/24    PageID.508       Page
                                         83 of 144

     201    Ms Kahramanian’s comments were likely to be particularly damaging as they

            purport to be from an actual customer and make believable, albeit false,

            complaints which would cause concern to real customers. Unlike posts accusing

            Mrs Armstrong of terrorism which are clearly partisan and coming from a particular

            aggrieved perspective, a post that claims the product never arrived and that Mrs

            Armstrong refused a refund would be more likely to be believed and more likely to

            cause a potential customer to decline to place an order.


     202    Given that, at the time, it was not possible for a customer to place an order as

            production had not recommenced following the COVID lockdown, I do not find Ms

            Kahramanian’s comments caused actual business loss. However, I do consider

            the nature of her remarks and the fact that she pretended to be a customer so as

            to post a defamatory comment significantly aggravates the damage.


     203    Neither Mrs Gabrielyan nor Mrs Kahramanian filed notices of appearance, and

            judgment was entered in default. Mrs Armstrong has had to go to great lengths to

            bring the proceedings to their attention and has incurred additional costs of doing

            so. Mrs Kahramanian was never a customer of Mrs Armstrong, despite purporting

            to be so, and one can infer her comments were motivated solely by malice and a

            desire to cause harm. Ms Gabrielyan did engage in some discussion with the

            plaintiff and offered to take the post down, but never offered compensation. One

            can infer from her posts that she was motivated by malice and an intention to cause

            harm. Mrs Armstrong is entitled to an award of aggravated damages against each

            defendant.


     204    Having considered all of the circumstances the appropriate award of damages for

            Ms Gabrielyan’s publications is $25,000 including aggravated damages. The

            appropriate award of damages for Ms Kahramanian’s publications is $30,000

            including aggravated damages.




                                              Exh. D43

                                                 40                                   JUDGMENT
VCC:AS/EM
                                                                       Armstrong v Assatryan & Ors
 Case 3:24-cv-01077-RSH-MMP             Document8153-2       Filed 09/25/24       PageID.509       Page
                                            84 of 144
     Injunction

     205    Mrs Armstrong seeks a permanent injunction restraining the defendants from

            further publication of the defamatory imputations.


     206    Injunctions are only issued when some additional factor is evident, usually an

            apprehension that the defendant may, by reason of irrationality, defiance,

            disrespect of the Court’s judgment or otherwise, publish allegations similar to those

            found to be defamatory, 45 or when the defendant’s persistence in making repeated

            defamatory publications has the flavour of a vendetta. 46


     207    The second and fifth defendant have demonstrated disrespect of the Court’s

            process by refusing to accept service, enter appearance or participate in the claim.

            Mrs Assatryan’s comments over a number of days and her active participation on

            Mrs Armstrong’s social media page during that period had the flavour of a vendetta

            against Mrs Armstrong.


     208    The conflict over Nagorno-Azerbaijan clearly induces strong feelings in Mrs

            Assatryan, such that there is a risk that she will act irrationally, or defiantly in what

            she could consider to be defence of Armenia.


     209    On that basis I consider there is a risk that Mrs Assatryan could, in future, post

            defamatory comments about Mrs Armstrong.                  In those circumstances it is
            appropriate to make an order restraining her from doing so.


     210    This means that if Mrs Assatryan publishes the defamatory imputations in the

            future, she would expose herself not just to a further claim in defamation, but would

            potentially be in contempt of court, and be exposed to the penalties for contempt

            as a consequence.



                                                  Exh. D44


45     Polias v Ryall [2014] NSWSC 1692 at paragraph [99]; Sierocki v Klerck (No 2) [2015] QSC 92 at 154,
       paragraphs [52]-[53]
46     Graham v Powell (No 4) [2014] NSWSC 1319 at paragraphs [45] and [48]; Sierocki v Klerck (No 2)
       (supra)

                                                     41                                     JUDGMENT
VCC:AS/EM
                                                                             Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP           Document8253-2     Filed 09/25/24   PageID.510      Page
                                         85 of 144

     211    I order that Mrs Assatryan, Ms Gabrielyan and Ms Kahramanian be restrained from

            further publishing the defamatory imputations.


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                                             Exh. D45


                                                42                                 JUDGMENT
VCC:AS/EM
                                                                    Armstrong v Assatryan & Ors
Case 3:24-cv-01077-RSH-MMP   Document8353-2   Filed 09/25/24   PageID.511   Page
                                 86 of 144




                       EXHIBIT E




                                    Exh. E1
Case 3:24-cv-01077-RSH-MMP   Document8453-2   Filed 09/25/24   PageID.512   Page
                                 87 of 144




                                   Exh. E2
Case 3:24-cv-01077-RSH-MMP   Document 53-2   Filed 09/25/24   PageID.513   Page   85
                                 88 of 144




                                   Exh. E3
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.514   Page
                                 89 of86144




                                   Exh. E4
                                     87
Case 3:24-cv-01077-RSH-MMP   Document 53-2   Filed 09/25/24   PageID.515   Page
                                 90 of 144




                                   Exh. E5
                                     88
Case 3:24-cv-01077-RSH-MMP   Document 53-2   Filed 09/25/24   PageID.516   Page
                                 91 of 144




                                   Exh. E6
Case 3:24-cv-01077-RSH-MMP   Document8953-2   Filed 09/25/24   PageID.517   Page
                                 92 of 144




                                    Exh. F1
Case 3:24-cv-01077-RSH-MMP   Document9053-2   Filed 09/25/24   PageID.518   Page
                                 93 of 144




                                    Exh. F2
Case 3:24-cv-01077-RSH-MMP   Document9153-2   Filed 09/25/24   PageID.519   Page
                                 94 of 144




                                    Exh. F3
Case 3:24-cv-01077-RSH-MMP   Document9253-2   Filed 09/25/24   PageID.520   Page
                                 95 of 144




                                   Exh. G1
Case 3:24-cv-01077-RSH-MMP   Document9353-2   Filed 09/25/24   PageID.521   Page
                                 96 of 144




                                   Exh. G2
Case 3:24-cv-01077-RSH-MMP   Document9453-2   Filed 09/25/24   PageID.522   Page
                                 97 of 144




                                    Exh. G3
Case 3:24-cv-01077-RSH-MMP   Document9553-2   Filed 09/25/24   PageID.523   Page
                                 98 of 144




                                   Exh. G4
Case 3:24-cv-01077-RSH-MMP   Document9653-2   Filed 09/25/24   PageID.524   Page
                                 99 of 144




                                    Exh. G5
Case 3:24-cv-01077-RSH-MMP   Document9753-2   Filed 09/25/24   PageID.525   Page
                                 100 of 144




                                 Exh. G6
Case 3:24-cv-01077-RSH-MMP   Document9853-2   Filed 09/25/24   PageID.526   Page
                                 101 of 144




                                   Exh. G7
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.527   Page
                                                                              99
                                 102 of 144




                                   Exh. G8
Case 3:24-cv-01077-RSH-MMP   Document100
                                      53-2    Filed 09/25/24   PageID.528   Page
                                 103 of 144




                                   Exh. H1
Case 3:24-cv-01077-RSH-MMP   Document101
                                      53-2    Filed 09/25/24   PageID.529   Page
                                 104 of 144




                                   Exh. H2
Case 3:24-cv-01077-RSH-MMP   Document102
                                      53-2    Filed 09/25/24   PageID.530   Page
                                 105 of 144




                                   Exh. I1
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.531   Page
                                 106 of
                                     103144




                                  Exh. I2
                                     104
Case 3:24-cv-01077-RSH-MMP   Document 53-2       Filed 09/25/24   PageID.532   Page
                                 107 of 144




                                           Exh. I3
Case 3:24-cv-01077-RSH-MMP   Document105
                                       53-2   Filed 09/25/24   PageID.533   Page
                                 108 of 144




                                    Exh. J1
Case 3:24-cv-01077-RSH-MMP   Document106
                                      53-2    Filed 09/25/24   PageID.534   Page
                                 109 of 144




                                   Exh. J2
Case 3:24-cv-01077-RSH-MMP   Document107
                                       53-2   Filed 09/25/24   PageID.535   Page
                                 110 of 144




                                   Exh. J3
Case 3:24-cv-01077-RSH-MMP   Document108
                                       53-2   Filed 09/25/24   PageID.536   Page
                                 111 of 144




                                   Exh. J4
                                     109
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.537   Page
                                 112 of 144




                                    Exh. J5
Case 3:24-cv-01077-RSH-MMP   Document110
                                      53-2    Filed 09/25/24   PageID.538   Page
                                 113 of 144




                                   Exh. K1
Case 3:24-cv-01077-RSH-MMP   Document111
                                      53-2    Filed 09/25/24   PageID.539   Page
                                 114 of 144




                                    Exh. K2
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.540   Page
                                 115 112
                                     of 144




                                    Exh. L1
Case 3:24-cv-01077-RSH-MMP   Document113
                                       53-2   Filed 09/25/24   PageID.541   Page
                                 116 of 144




                                  Exh. L2
                                   114
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.542   Page
                                 117 of 144




                                         Exh. L3
                                     115
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.543   Page
                                 118 of 144




                                   Exh. L4
                                     116
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.544   Page
                                 119 of 144




                                  Exh. L5
                                     117
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.545   Page
                                 120 of 144




                                   Exh. L6
                                    118
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.546   Page
                                 121 of 144




                                   Exh. L7
                                     119
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.547   Page
                                 122 of 144




                                   Exh. L8
                                     120
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.548   Page
                                 123 of 144




                                   Exh. L9
                                     121
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.549   Page
                                 124 of 144




                                   Exh. L10
                                     122
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.550   Page
                                 125 of 144




                                 Exh. L11
                                    123
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.551   Page
                                 126 of 144




                                   Exh. L12
Case 3:24-cv-01077-RSH-MMP   Document12453-2   Filed 09/25/24   PageID.552   Page
                                 127 of 144




                                   Exh. M1
                                     125
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.553   Page
                                 128 of 144




                                   Exh. M2
Case 3:24-cv-01077-RSH-MMP   Document126
                                      53-2    Filed 09/25/24   PageID.554   Page
                                 129 of 144




                                   Exh. M3
                                     127
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.555   Page
                                 130 of 144




                                   Exh. M4
                                     128
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.556   Page
                                 131 of 144




                                  Exh. M5
                                    129
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.557   Page
                                 132 of 144




                                   Exh. M6
                                     130
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.558   Page
                                 133 of 144




                                   Exh. M7
Case 3:24-cv-01077-RSH-MMP   Document131
                                      53-2    Filed 09/25/24   PageID.559   Page
                                 134 of 144




                                   Exh. M8
                                     132
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.560   Page
                                 135 of 144




                                  Exh. M9
                                    133
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.561   Page
                                 136 of 144




                                 Exh. M10
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.562   Page
                                 137 134
                                     of 144




                                  Exh. N1
                                     135
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.563   Page
                                 138 of 144




                                   Exh. N2
                                    136
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.564   Page
                                 139 of 144




                                 Exh. N7
                                    137
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.565   Page
                                 140 of 144




                                   Exh. N8
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.566   Page
                                 141 of 144
                                   138




                                   Exh. N9
                                    139
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.567   Page
                                 142 of 144




                                  Exh. N10
                                    140
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.568   Page
                                 143 of 144




                                   Exh. N11
                                    141
Case 3:24-cv-01077-RSH-MMP   Document 53-2    Filed 09/25/24   PageID.569   Page
                                 144 of 144




                                   Exh. N12
